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Attorneys for Plaintiff Xat.com Limited



                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF UTAH, CENTRAL DISTRICT


 XAT.COM LIMITED,                              NOTICE OF SUBSTITUTION OF
                                               COUNSEL
           Plaintiff,
                                               Case No. 1:16-cv-00092
 v.
                                               Magistrate Judge Paul M. Warner
 HOSTING SERVICES, INC. A/K/A
 100TB.COM,                                    Mediator: Magistrate Judge Dustin B. Pead

           Defendant.


         Pursuant to DUCivR 83-1.4(d), plaintiff Xat.com Limited hereby gives notice of

substitution of its counsel. David L. Mortensen (8242) and Jordan C. Bledsoe (15545) of the law

firm Stoel Rives LLP, located at 201 South Main Street, Suite 1100, Salt Lake City, Utah 84111,

hereby substitute as counsel in the place of George M. Haley (1302), Romaine C. Marshall

(9654), and Engles J. Tejeda (11427) of the law firm Holland & Hart LLP. The address and bar

numbers for Mr. Mortensen and Mr. Bledsoe are provided above. Mr. Mortensen and Mr.

Bledsoe verify that they are aware of and will comply with all pending case deadlines in this



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matter. As set forth in the Certificate of Service below, counsel for all parties have been served

with a copy of this notice.

          DATED: July 23, 2018
                                                      STOEL RIVES LLP


                                                      /s/ David L. Mortensen
                                                      David L. Mortensen
                                                      Jordan C. Bledsoe

                                                      Attorneys for Plaintiff Xat.com Limited


                                                      HOLLAND & HART LLP


                                                      /s/ George M. Haley
                                                      (Signed by filing attorney with permission)
                                                      George M. Haley
                                                      Romaine C. Marshall
                                                      Engels J. Tejeda

                                                      Former Attorneys for Plaintiff Xat.com Limited




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 23, 2018, I caused a true and correct copy of the foregoing to

be served by CM/ECF and electronic mail to:

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                                                       /s/ Robin Noss




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